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                      EXHIBIT BB
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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



 VIRGINIA COALITION FOR IMMIGRANT
 RIGHTS; LEAGUE OF WOMEN VOTERS OF
 VIRGINIA; LEAGUE OF WOMEN VOTERS
 OF VIRGINIA EDUCATION FUND;
 AFRICAN COMMUNITIES TOGETHER,

 Plaintiffs,

                 v.                                   Case No. 1:24-cv-01778 (Lead)
                                                      Case No. 1:24-cv-01807
 SUSAN BEALS, in her official capacity as             Judge Patricia Tolliver Giles
 Virginia Commissioner of Elections; JOHN
 O’BANNON, in his official capacity as
 Chairman of the State Board of Elections;
 ROSALYN R. DANCE, in her official capacity
 as Vice-Chairman of the State Board of
 Elections; GEORGIA ALVIS-LONG, in her
 official capacity as Secretary of the State Board
 of Elections; DONALD W. MERRICKS and
 MATTHEW WEINSTEIN, in their official
 capacities as members of the State Board of
 Elections; and JASON MIYARES, in his
 official capacity as Virginia Attorney General,


 Defendants.



                      SUPPLEMENTAL DECLARATION OF GIGI TRAORE

  Pursuant to 28 U.S.C. § 1746, I, Gigi Traore, declare as follows:

     1. I am the National Civic Engagement Director for African Communities Together

         (“ACT”), a 501(c)(3) nonprofit corporation with its principal place of business located in

         New York City, New York.
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    2. I submitted a Declaration in support of Plaintiffs’ Motion for Preliminary Injunction. I am

       submitting this supplement to detail new information that ACT has acquired and new

       activities ACT has undertaken since I filed my first declaration.

    3. ACT has learned of at least three individual members who have had their voter

       registration canceled since Executive Order 35 was issued on August 7, 2024.

    4. ACT staff and volunteers have reached out to all three individuals. It is my understanding

       and belief that all of three individuals are United States citizens and eligible voters. Due

       to the expedited nature of this litigation, we have been unable to secure declarations

       directly from these impacted members.

    5. ACT staff and volunteers have engaged in substantial efforts to contact individuals who

       have been removed via the Purge Program, especially among African immigrant

       communities. Our efforts to contact improperly removed voters are ongoing and

       substantially aided by recent acquisition of the lists of voters removed under the Purge

       Program.

    6. To date we have identified eleven individuals, in addition to the three ACT members

       discussed above, who have been improperly removed from the vote rolls. It is my

       understanding and belief that all eleven individuals are United States citizens and eligible

       voters. Many of these individuals have been registered for years and are frequent voters.

    7. It is my understanding and belief that some of the removed voters are naturalized U.S.

       citizens.

    8. Many of the removed voters ACT has contacted did not realize there was any problem

       with their registration until they were contacted by ACT volunteers.
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     9. Some of these individuals have been able to re-register and cast a ballot. Others have

         represented to ACT volunteers that they intend to re-register and vote during early voting

         or on Election Day.



  Executed this 23th day of October, 2024, in Washington, D.C.


  _______________________________
  Gigi Traore
  National Civic Engagement Director
  African Communities Together
